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                             UNITED STATES DISTRICT COURT
                              MIDDLE DISTRICT OF FLORIDA
                                    TAMPA DIVISION

 DONOVAN HARGRETT, et al.,

        Plaintiff,
 v.                                                     CASE NO. 8:15-cv-2456-T-26EAJ

 AMAZON.com DEDC LLC,

        Defendant,

 and

 MICHAEL AUSTIN and
 DEOLINDA S.M. BONDE, et al.,

        Plaintiffs,

 v.                                                     CASE NO. 8:15-cv-2588-T-26JSS

 AMAZON.com DEDC LLC,


        Defendant.
                                                /

              JOINT MOTION TO EXTEND DEADLINE TO FINALIZE AND
              SEEK PRELIMINARY APPROVAL OF CLASS SETTLEMENT

        Pursuant to Rule 6(b) of the Federal Rules of Civil Procedure, the Parties jointly request

 what they expect to be a final 17-day enlargement of the deadline set forth in the Court’s April 30,

 2018 Order (Doc. 159) to finalize their class-wide settlement agreement and to file their motion

 for preliminary approval, making the new deadline July 16, 2018. The Parties are continuing to

 work diligently to negotiate and finalize matters related to the forthcoming settlement agreement,

 including all exhibits thereto. So that the Parties have sufficient time to finalize a written

 settlement agreement (including all exhibits), the motion for preliminary approval, and other class




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 settlement papers, the Parties respectfully request that this Court grant a 17-day extension of time

 to complete this process. In further support of this Joint Motion, the Parties state the following:

                SUPPORTING FACTS AND PROCEDURAL BACKGROUND

         1.      On March 13, 2018, Plaintiffs filed a Notice of Settlement with the Court (Doc.

 155). Plaintiffs informed the Court that the Parties had reached, in principle, a class-wide

 settlement. If approved, this settlement will resolve this action in its entirety.

         2.      Also on March 13, 2018, the Court entered an Order staying all deadlines and

 giving the Parties until April 30, 2018 to paper and then file their settlement documents seeking

 preliminary approval of their settlement. (Doc. 156).

         3.      On April 30, 2018, the parties jointly requested a 30-day extension of time to

 finalize the settlement agreement. (Doc. 158). The Court entered an Order extending the deadline

 to file their settlement documents and seek preliminary approval of the settlement until May 30,

 2018. (Doc. 159).

         4.      On May 29, 2018, the parties jointly requested a 30-day extension of time to finalize

 the settlement agreement and exhibits thereto. (Dkt. 161). The Court entered an Order extending

 the deadline to file their settlement documents and seek preliminary approval of the settlement

 until June 29, 2018. (Dkt. 161).

         5.      Since that date, Plaintiffs filed a Second Amended Consolidated Class Action

 Complaint on June 8, 2018. (Dkt. 163.) Amazon filed an Answer to the Second Amended

 Consolidated Class Action Complaint on June 25, 2018. (Dkt. 166). While drafting these

 pleadings, the parties have also worked diligently to finalize the settlement agreement and all

 exhibits thereto, including the class notice. However, because of the time spent on the other

 pleadings and due to the complex nature of this litigation and settlement documents, including the



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 need to consolidate and settle multiple cases, the parties need what they expect to be one final

 extension to finalize the settlement agreement. The parties have reached substantial agreement on

 the settlement documents, but need to reach agreed-upon wording on the non-monetary relief in

 the settlement agreement. The parties request a 17-day extension to complete the agreement and

 obtain all necessary signatures due to the upcoming Fourth of July holiday. As a result, they

 request an extension of the current June 29, 2018 deadline until July 16, 2018.

        6.      Neither side will be prejudiced by this brief extension, since this case remains

 administratively closed pending finalization and approval of the Parties’ class-wide settlement.

 Furthermore, and both sides require more time to complete the finalization of all settlement

 documents of this class action.

                                   MEMORANDUM OF LAW

        Pursuant to Rule 6(b), when an act must be done within a specified time, this Court can

 extend the time to do so for “good cause.” Fed. R. Civ. P. 6(b). The Parties request a brief, 30-day

 extension of time to file their settlement documents with the Court, making the new deadline June

 29, 2018.

        Good cause exists for this relief. The Parties are in the process of drafting and exchanging

 settlement papers, agreeing on a settlement class administrator, and completing all briefing and

 tasks necessary to present the settlement to the Court and to seek preliminary approval. The Parties

 need an additional 17-day extension of time given the Fourth of July holiday to complete this

 process and obtain all necessary signatures. This request is made prior to the expiration of the

 current deadline, and will not cause any prejudice because this case has been administratively

 closed pending the Parties’ execution of the Settlement Agreement and the Court approval.




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 Finally, this extension is jointly being sought in good faith and not for delay or any other improper

 purpose.

         WHEREFORE, the Parties respectfully request that the Court grant their joint motion and

 enter an Order that extends the settlement-related deadline in the Court’s April 30, 2018 Order by

 17 days, until July 16, 2018.

         DATED this 29th day of June, 2018.

                                                  Respectfully submitted,



  /s/ Brandon J. Hill                                 /s/ Brian M. Ercole
  STEVEN G. WENZEL                                    Brian M. Ercole
  Florida Bar No. 159055                              Brian M. Ercole (Florida Bar. No. 0102189)
  LUIS A. CABASSA                                     Morgan Lewis & Bockius LLP
  Florida Bar Number: 053643                          200 South Biscayne Boulevard – Suite 5300
  BRANDON J. HILL                                     Miami, Florida 33131 2339
  Florida Bar Number: 37061                           Telephone:     305.415.3000
  Wenzel Fenton Cabassa, P.A.                         Facsimile:     305.415.3001
  1110 North Florida Ave., Suite 300                  brian.ercole@morganlewis.com
  Tampa, Florida 33602
  Main No.: 813-224-0431                              .
  Facsimile: 813-229-8712
  Email: swenzel@wfclaw.com
  Email: lcabassa@wfclaw.com
  Email: bhill@wfclaw.com



                                    CERTIFICATE OF SERVICE

         I HEREBY CERTIFY that on this 29th day of June, 2018, I electronically filed the

 foregoing with the Clerk of Court using the CM/ECF system, which will send a notification of this

 filing to all counsel of record.

                                               /s/ Brian M. Ercole
                                               BRIAN M. ERCOLE




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